                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 NO: 3:04CR201

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                             ORDER
                                          )
VINTAGE PHARMACEUTICALS, INC.             )
WILLIAM PROPST, SR.,                      )
WILLIAM PROPST, JR., and                  )
QUALITEST PHARMACEUTICALS, INC.,          )
            Defendants.                   )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT in preliminary response to the “Defendants’

Motion to Compel Discovery” (“Motion to Compel”) (Document No. 103), filed March 25, 2005

by Vintage Pharmaceuticals, Inc. (“Vintage”), Qualitest Pharmaceuticals, Inc. (“Qualitest”), William

Propst, Sr. and William Propst, Jr. (collectively with Mr. Propst, Sr., the “Propsts”); the

“Government’s Opposition to Vintage’s Motion to Compel Discovery” (Document No. 112), filed

June 8, 2005 by the United States of America; and the “Defendants’ Reply in Support ...” (Document

No. 114), filed June 17, 2005 by Vintage, Qualitest and the Propsts.

       With respect to the arguments in the Motion to Compel regarding the United States’ search

for and preservation of discoverable documents, the undersigned orders that the United States submit

for the undersigned’s in camera review (i) an affidavit or affidavits setting forth the details of the

United States’ search for discoverable documents, as well as any documentation supporting said

search; and (ii) an affidavit or affidavits setting forth the details of the United States’ efforts to

preserve discoverable documents, as well as any documentation supporting said efforts. With



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   Case 3:04-cr-00201-GCM-DCK              Document 134         Filed 07/25/05      Page 1 of 3
respect to the arguments in the Motion to Compel regarding the eighty-nine documents identified

by the United States on its privilege log to which Vintage, Qualitest and the Propsts argue that

privilege should not apply, the undersigned orders that the United States submit a revised privilege

log for the undersigned’s in camera review. The revised privilege log should (i) identify the author

and recipients of said document, including the job title and/or capacity in which such individual

authored or received said document, (ii) describe in detail the basis for the assertion of privilege, and

(iii) provide any and all other information that the United States believes is necessary for the

undersigned to evaluate its assertion of privilege. For simplicity’s sake, the undersigned asks the

United States to employ the numbering convention adopted by Vintage, Qualitest and the Propsts

in the Motion.

        These materials – which are to be ex parte – should be submitted to the undersigned on

or before August 8, 2005. A hearing on the Motion to Compel shall be held in front of the

undersigned during the week of August 15, 2005. The parties should confer as to an available

date and time for said hearing and contact the Court as soon as practicably possible with respect to

the proposed date and time.

        IT IS SO ORDERED.




                                                   2


   Case 3:04-cr-00201-GCM-DCK                Document 134         Filed 07/25/05       Page 2 of 3
                         Signed: July 25, 2005




                                  3


Case 3:04-cr-00201-GCM-DCK   Document 134        Filed 07/25/05   Page 3 of 3
